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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                                Judge William J. Martínez

Criminal Case No. 22-cr-012-WJM

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1.     LAWRENCE RUDOLPH,
2.     LORI MILLIRON,

       Defendants.


                    ORDER CONCERNING OUT-OF-COURT STATEMENTS


       This Order addresses several outstanding issues about how the Court will

instruct the Jury regarding their consideration of out-of-court statements introduced into

evidence that are admissible against one Defendant but not the other.

                                   I. ANNA GRIMLEY

       The Government will likely call Anna Grimley to testify that in 2015, Defendant

Lori Milliron told her that she had given Defendant Lawrence Rudolph an ultimatum to

leave his wife. The Court finds that this testimony is admissible against Milliron under

Federal Rule of Evidence 801(d)(2) as a statement offered against an opposing party.

However, the Court also finds that this statement is inadmissible against Rudolph under

Federal Rule of Evidence 802.

       In its July 7, 2022 Order, the Court granted Rudolph’s request that a limiting

instruction be read when Grimley’s hearsay testimony is introduced. (ECF No. 206 at

3–4.) Counsel for Milliron has represented to the Court that he will reference this
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statement in his opening statement. As a result, a slightly modified version of this

limiting instruction will be read to the jury before opening statements begin to ensure

that the jury does not consider the statement with regard to Rudolph’s culpability. The

limiting instruction that will be read before opening statements is attached to this Order

as Exhibit A.

       In addition, before Grimley testifies regarding Milliron’s statement during the

Government’s case-in-chief, the Court will read the limiting instruction discussed in the

Court’s July 7, 2022 Order. (ECF No. 206 at 3.) The limiting instruction that will be read

before her hearsay testimony is introduced is attached to this order as Exhibit B.

                         II. GENERIC LIMITING INSTRUCTION

       In the event that additional hearsay statements are introduced into evidence that

are admissible against one Defendant but not the other, the Court will read the generic

limiting instruction attached to this Order as Exhibit C.

                              III. CASSANDRA OLMSTEAD

       The Court also understands that the Government may also elicit hearsay

statements from Cassandra Olmstead. (ECF No. 150 at 7.) The Government plans to

show that this evidence is admissible against Rudolph because the testimony falls

within a hearsay exception under Federal Rule of Evidence 804(b)(6). (ECF No. 162 at

15.) Rule 804(b)(6) allows hearsay statements to be introduced against a party that

wrongfully caused the declarant’s unavailability as a witness and did so intending that

result. Fed. R. Evid. 804(b)(6).

       In its June 27, 2022 Order, the Court explained that it would be more appropriate

to consider this issue during trial upon a renewed objection from Rudolph. (ECF No.




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184 at 8–9.) The parties are advised that the Court still intends to use this approach

with respect to this statement.

       Dated this 12th day of July, 2022.

                                                BY THE COURT:



                                                ______________________
                                                William J. Martinez
                                                United States District Judge




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